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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


CATHOLIC CHARITIES, DIOCESE OF
FORT WORTH, INC.,

               Plaintiff,

       v.                                                 Civil Action No. 25-0605 (LLA)

DEPARTMENT OF HEALTH AND
HUMAN SERVICES, et al.

               Defendants.


                                   JOINT STATUS REPORT

       Plaintiff and Defendants, by and through the undersigned counsel, respectfully file this

joint status report pursuant to the Court’s March 14, 2025 order.

       As indicated in the prior joint status report, ECF No. 22, Plaintiff submitted two draw down

requests on March 17, 2025. In addition, Plaintiff submitted another draw down request on March

18, 2025. The Department of Health and Human Services has released funding for the requests

submitted by Plaintiff.

       On March 19, 2025, counsel for the parties met and conferred to discuss how the parties

intend to proceed with the litigation. To allow for additional time, the parties respectfully request

the Court allow the parties to submit a joint status report on March 26, 2025. A proposed order is

attached.

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Dated: March 19, 2025                                 Respectfully submitted,

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CATHOLIC CHARITIES, DIOCESE OF
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               Plaintiff,

       v.                                                 Civil Action No. 25-0605 (LLA)

DEPARTMENT OF HEALTH AND
HUMAN SERVICES, et al.

               Defendants.


                                     [PROPOSED] ORDER


       Upon consideration of the parties’ Joint Status Report, it is hereby ORDERED that the

parties shall file by on March 26, 2025, advising the Court of the status of this matter, including a

recommendation for further proceedings.


________________                                      ___________________________________
Date                                                  LOREN A. ALIKHAN
                                                      United States District Judge




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